       Case: 1:20-cv-01590 Document #: 5 Filed: 03/04/20 Page 1 of 2 PageID #:41



                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


IRON MAIDEN HOLDINGS, LTD.,

       Plaintiff,                                      Case No.: 1:20-cv-01590

v.
                                                       Judge Jorge L. Alonso
THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A”,                            Magistrate Judge Jeffrey Cummings

       Defendants.




               PLAINTIFF’S MOTION FOR LEAVE TO FILE UNDER SEAL

        Plaintiff, Iron Maiden Holdings, Ltd., (“Iron Maiden” or “Plaintiff”), by its undersigned

 counsel, hereby files this Motion requesting leave to file the following documents under seal: (1)

 Plaintiff’s Schedule “A” attached to the Complaint, which includes a list of the Defendant Online

 Marketplace Accounts; and (2) screenshot printouts showing the active Defendant Internet Stores

 for the Defendant Online Marketplace Accounts (Exhibit 3 to the Declaration of Paul Varley).

        In this action, Iron Maiden is requesting temporary ex parte relief based on an action for:

 trademark infringement and counterfeiting; false designation of origin, passing off and unfair

 competition; violation of the Illinois Uniform Deceptive Trade Practices Act; and, copyright

 infringement. Sealing this limited portion of the file is necessary to prevent the Defendants from

 learning of these proceedings prior to the execution of the temporary restraining order. If

 Defendants were to learn of these proceedings prematurely, the likely result would be the

 destruction of relevant documentary evidence as well as the hiding and/or transferring of assets to

 foreign jurisdictions, which would frustrate the purpose of the underlying law and would interfere
     Case: 1:20-cv-01590 Document #: 5 Filed: 03/04/20 Page 2 of 2 PageID #:42



with this Court’s power to grant relief. Once the temporary restraining order has been served on

the relevant parties and the requested actions are taken, Iron Maiden Holdings, Ltd. will move to

unseal these documents.



      Dated: March 4, 2020                         Respectfully submitted,

                                                          /s/ Ann Marie Sullivan
                                                          Ann Marie Sullivan
                                                          Alison Carter
                                                          Raymond Lang
                                                          AM Sullivan Law, LLC
                                                          1440 W. Taylor St., Suite 515
                                                          Chicago, Illinois 60607
                                                          Telephone: 224-258-9378
                                                          E-mail: ams@amsullivanlaw.com

                                                          ATTORNEYS FOR PLAINTIFF




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically-filed on March 4, 2020, with the Clerk of the Court using
the CM/ECF system, which will automatically send an email notification of such filing to all
registered attorneys of record.

                                                      /s/ Alison Carter
                                                      Alison Carter




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